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 14 Archbishop of San Francisco

 15                             UNITED STATES BANKRUPTCY COURT

 16                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 17 In re                                             Case No. 23-30564

 18 THE ROMAN CATHOLIC ARCHBISHOP                     Chapter 11
    OF SAN FRANCISCO,
 19                                                   OMNIBUS NOTICE OF HEARING ON
              Debtor and                              DEBTOR’S EMERGENCY FIRST DAY
 20           Debtor in Possession.                   MOTIONS

 21                                                   Date:    August 24, 2023
                                                      Time:    1:30 p.m.
 22                                                   Place:   Via ZoomGov

 23                                                   Judge:   Hon. Dennis Montali

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  1            NOTICE IS HEREBY GIVEN that Roman Catholic Archbishop of San Francisco (the

  2 “RCASF” or “Debtor”), the debtor and debtor in possession in the above captioned case, has filed

  3 seven motions seeking immediate relief relating to critical operational issues as follows:

  4            1.       Debtor’s Emergency Motion for Order (1) Authorizing Payment of Prepetition
                        Wages, Salaries and Employee Expenses, (2) Authorizing Payment of Accrued
  5                     Employee Benefits and Taxes, and (3) Directing Banks to Honor Payroll and
                        Expense Checks (the “Employee Obligations Motion”);
  6
               2.       Debtor’s Emergency Motion for Interim and Final Orders (1) Prohibiting
  7                     Utility Companies from Altering, Refusing or Discontinuing Service, (2)
                        Determining Adequate Assurance of Payment for Postpetition Utility Services
  8                     Under 11 U.S.C. § 366, (3) Establishing Procedures for Determining Adequate
                        Assurance of Payment, and (4) Scheduling a Final Hearing (the “Utilities
  9                     Motion”);
 10            3.       Debtor’s Emergency Motion for Interim and Final Orders (1) Authorizing
                        Continued Use of Existing Cash Management System, Operational Bank
 11                     Accounts, Related Investment Accounts; (2) Authorizing Maintenance of
                        Existing Business Forms; (3) Excusing Compliance with Section 345(b); (4)
 12                     Authorizing Continued Use of Current Investment Policy; and (5) Scheduling a
                        Final Hearing (the “Cash Management Motion”);
 13
               4.       Debtor’s Emergency Motion to (1) Establish Notice Procedures, (2) File
 14                     Confidential Information Under Seal, and (3) Temporarily Suspend Deadline
                        for Filing Proofs of Claim (the “Motion to Establish Notice Procedures and
 15                     Suspend Bar Date”);

 16            5.       Debtor’s Emergency Application for Entry of an Order (I) Authorizing and
                        Approving the Appointment of Omni Agent Solutions, Inc. as Claims and
 17                     Noticing Agent, and (II) Granting Related Relief (the “Claims and Noticing
                        Agent Motion”);
 18
               6.       Debtor’s Emergency Motion to Continue Insurance Programs (the “Insurance
 19                     Motion”); and

 20            7.       Debtor’s Emergency Motion for Interim and Final Orders Authorizing Debtor
                        to (1) Pay Certain Prepetition Invoices for Abuse Survivors’ Assistance and Safe
 21                     Environment Programs, and (2) Continue Its Prepetition Practice of Paying for
                        Abuse Survivors’ Assistance and Safe Environment Programs (the “Survivors’
 22                     Assistance Programs Motion”).

 23            These seven critical motions (hereafter referred to collectively as the “First Day Motions”)

 24 seek entry of orders granting the relief described below, and such other relief as is just and

 25 appropriate given the circumstances of the First Day Motions and this case.

 26            NOTICE IS FURTHER GIVEN that hearings on the First Day Motions will be held

 27 August 24, 2023, at 1:30 p.m. at the United States Bankruptcy Court, Northern District of California,

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  1 San Francisco Division, before the Honorable Dennis Montali (the “First Day Hearings”). The First

  2 Day Hearings will not be conducted in the presiding judge’s courtroom but instead will be conducted

  3 by videoconference via ZoomGov. The Bankruptcy Court’s website provides information regarding

  4 how to arrange an appearance at a video or telephonic hearing. If you have questions about how to

  5 participate in a video or telephonic hearing, you may contact the court by calling 888-821-7606 or

  6 by using the Live Chat feature on the Bankruptcy Court’s website. The link to the judge’s electronic

  7 calendar is: https://www.canb.uscourts.gov/judge/montali/calendar.

  8            The First Day Motions are supported by the Declaration of Joseph J. Passarello in support

  9 of Chapter 11 Petition and First Day Motions (“Passarello Background Decl.”), the Declaration of
 10 Paul Gaspari in support of Chapter 11 Petition and First Day Motions (“Gaspari Decl.”), and the

 11 additional declarations identified below in support of each motion. The titles of each of the First

 12 Day Motions followed by a summary description of the relief requested in each First Day Motion,

 13 are as follows:

 14 A.         Debtor’s Emergency Motion for Order (1) Authorizing Payment of Prepetition
               Wages, Salaries and Employee Expenses, (2) Authorizing Payment of Accrued
 15            Employee Benefits and Taxes, and (3) Directing Banks to Honor Payroll and Expense
               Checks
 16

 17            1.       The Debtor seeks Court authority, among other things, to pay prepetition wages,

 18 salaries and employee expenses, to pay accrued employee benefits and taxes, and directing banks

 19 to honor payroll and expense checks (the “Employee Obligations Motion”). In furtherance of the

 20 Employee Obligations Motion, the Debtor has filed the supporting declaration of Joseph J.

 21 Passarello.

 22            2.       Specifically, by the Employee Obligations Motion, the Debtor requests entry of an

 23 order that (i) authorizes but does not direct the Debtor to pay Employee Obligations, Employee

 24 Deductions and Employee Expenses (each as defined in the Employee Obligations Motion), (ii)

 25 authorizes but does not direct the Debtor to continue its practices, programs and policies in effect

 26 as of the Petition Date with respect to all Employee Obligations (including allowing employees to

 27 use paid time off accrued, but unused, as of the Petition Date), Employee Deductions and Employee

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  1 Expenses and (iii) authorizes and directs the bank at which the Debtor maintains an account from

  2 which the Debtor’s payroll obligations are disbursed and all other banks or lending institutions

  3 maintaining payroll and employee benefits accounts to honor and pay all pre-petition and post-

  4 petition checks issued or to be issued and fund transfers requested or to be requested, by the Debtor

  5 in respect of the Employee Obligations, Employee Deductions and Employee Expenses. The

  6 Debtor also seeks authority to issue new post-petition checks or fund transfer requests with respect

  7 to pre-petition obligations that may have been dishonored by the banks relating to the Employee

  8 Obligations, Employee Deductions and Employee Expenses, if necessary.

  9            3.       The Employee Obligations Motion seeks authorization to pay only such amounts
 10 that are entitled to priority claim status up to $15,150 under the provisions of sections 507(a)(4)

 11 and (a)(5). 1 The RCASF believes that approval of this motion is critical to the Debtor’s operations

 12 of the Debtor, and that the amounts at issue are fairly de minimis in the context of the Bankruptcy

 13 Case.

 14 B.         Debtor’s Emergency Motion for Interim and Final Orders (1) Prohibiting Utility
               Companies from Altering, Refusing or Discontinuing Service, (2) Determining
 15            Adequate Assurance of Payment for Postpetition Utility Services Under 11 U.S.C. §
               366, (3) Establishing Procedures for Determining Adequate Assurance of Payment,
 16            and (4) Scheduling a Final Hearing

 17            1.       The Debtor seeks entry of an order (1) prohibiting utility companies from altering,

 18 refusing or discontinuing service; (2) determining that the Debtor’s furnishing of deposits to utility

 19 companies listed on Exhibit 2 to the motion in an amount that represents fifty percent of the

 20 Debtor’s estimated average monthly usage over the past twelve months of such utility respectively

 21 constitutes adequate assurance of payment; (3) establishing procedures for assurance requests by

 22 the affected utilities and for determining adequate assurance of payment; and (4) scheduling a final

 23 hearing thereon (the “Utility Motion”). In furtherance of the Utility Motion, the Debtor has filed

 24 the supporting declaration of Joseph J. Passarello.

 25            2.       The Debtor’s ongoing operations require it to maintain uninterrupted utility services

 26 including electricity, natural gas, telephone, water, waste removal, internet and other services.

 27
    1
      All section references hereafter are to title 11 of the United States Code (the “Bankruptcy Code”)
 28 unless noted otherwise.

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  1 Termination of a utility service would cause immediate and irreparable harm to the Debtor’s

  2 operations and critical reorganization efforts. The Debtor has multiple facilities and receives utility

  3 services from numerous utility companies, as described in the Utility Motion, and listed on Exhibit

  4 2 to the Utility Motion.

  5 C.         Debtor’s Emergency Motion for Interim and Final Orders (1) Authorizing Continued
               Use of Existing Cash Management System, Operational Bank Accounts, Related
  6            Investment Accounts; (2) Authorizing Maintenance of Existing Business Forms; (3)
               Excusing Compliance with Section 345(b); (4) Authorizing Continued Use of Current
  7            Investment Policy; and (5) Scheduling a Final Hearing.

  8            1.       The Debtor seeks entry of an order, among other things, (a) waiving the Bankruptcy

  9 Local Rules and United States Trustee Guidelines to the extent necessary in order for the Debtor
 10 to continue its use of its existing cash management system, (b) authorizing the Debtor to continue

 11 using its prepetition bank accounts and business forms, including a waiver of the requirement that

 12 the legend “debtor in possession” be imprinted on any existing checks and business forms, and (c)

 13 authorizing the Debtor to continue the use of its existing cash management system and accounting

 14 policies and practices (the “Cash Management Motion”). By the Cash Management Motion, the

 15 Debtor also seeks to continue using its commercial credit cards and investment policies during this

 16 Bankruptcy Case, without posting any bonds as otherwise required under section 345(b) of the.

 17 The Debtor seeks the relief requested under the Cash Management Motion to ensure its orderly

 18 transition into bankruptcy and to help administer its operations efficiently while avoiding the

 19 disruptions, distractions, delays, and significant expense that otherwise would inevitably divert the

 20 Debtor’s attention from urgent matters during the initial stages of its bankruptcy case.            In

 21 furtherance of the Cash Management Motion, the Debtor has filed the supporting declaration of

 22 Joseph J. Passarello.

 23            2.       As described in the Cash Management Motion, all of the relevant banks where the

 24 RCASF’s bank accounts are located are FDIC-insured banking institutions that have complied with

 25 the United States Trustee’s (the “U.S. Trustee”) special depository procedures under section 345

 26 and are on the U.S. Trustee’s list of authorized depositories for the Northern District of California,

 27 with exceptions including accounts at First Republic Bank (“FRB”), Bank of San Francisco (“Bank

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  1 of SF”). As set forth in greater detail in the Cash Management Motion, while FRB is not a FDIC-

  2 insured banking institution, it has been acquired by JPMorgan Chase Bank (“JPMC”), which is a

  3 FDIC-Insured institution on the U.S. Trustee’s Authorized Depository list as of July 10, 2023.

  4 Similarly, Bank of SF, while not on the U.S. Trustee’s Authorized Depository list, is FDIC-insured.

  5 Additionally, the RCASF keeps its account balance at approximately the $250,000 limit of FDIC

  6 insurance, so there is little risk of losing money from this account. Finally, while California Bank

  7 & Trust (“CB&T”) is neither on the U.S. Trustee’s authorized depository list nor FDIC-insured, it

  8 is a division of Zions Bancorporation, N.A., which is FDIC-insured.

  9            3.       The Debtors also have certain investment and money market accounts that the
 10 Debtors request Court authority to continue to maintain without the need to comply strictly with

 11 section 345, including the maintenance of the Pooled Investment Accounts and its BofA

 12 Investment Account (each as defined in the Cash Management Motion) that is used to invest in the

 13 BlackRock Liquidity Funds Portfolio Institutional Class, a money market mutual fund that

 14 currently yields approximately 5.2% of interest per year.

 15 D.         Debtor’s Emergency Motion to (1) Establish Notice Procedures, (2) File Confidential
               Information Under Seal, and (3) Temporarily Suspend Deadline for Filing Proofs of
 16            Claim
 17            1.       The Debtor has also filed a motion for entry of an order (i) establishing notice
 18 procedures, (ii) authorizing the Debtor to file confidential information under seal, and (iii)

 19 temporarily suspending the deadline for non-government creditors to file proofs of claim (“Motion

 20 to Establish Notice Procedures and Suspend Bar Date”). In furtherance of the Motion to Establish

 21 Notice Procedures and Suspend Bar Date, the Debtor has filed the supporting declaration of Joseph

 22 J. Passarello.

 23            2.       Given the estimated 1,600 parties in interest, including abuse survivors, the Debtor

 24 seeks permission to limit notice and also to file certain confidential information under seal given

 25 the particularly sensitive nature of claims, survivor identities, and other matters in this Bankruptcy

 26 Case. The Debtor requests permission to file the schedules, any other pleadings and proofs of

 27 service to the extent they contain non-public names of abuse claimants and potential abuse

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  1 claimants under seal in order to protect such individuals’ privacy rights. The Debtor also seeks to

  2 suspend temporarily deadline to file claims to provide the Debtor with sufficient time to employ a

  3 claims agent and formulate a Court-approved, specialized claims submission process.

  4 E.         Debtor’s Emergency Motion to Approve Retention of Omni Agent Solutions Inc. as
               Claims and Noticing Agent
  5

  6            1.       The Debtor filed an emergency motion (the “Noticing Agent Motion”) for the entry

  7 of an order, pursuant to 28 U.S.C. § 156(c), Bankruptcy Code section 105(a), and Bankruptcy

  8 Local Rules 9013-1(a) and 5075-1(b): (a) appointing Omni Agent Solutions, Inc. (“Omni”) as

  9 claims and noticing agent (the “Claims and Noticing Agent”) for the Debtor in this Bankruptcy
 10 Case effective as of the Petition Date (as defined herein) including assuming full responsibility for

 11 the distribution of notices and the maintenance, processing, and docketing of proofs of claim filed

 12 in the Debtor’s Bankruptcy Case, and (b) granting related relief. In support of the Noticing Agent

 13 Motion, the Debtor filed the supporting declaration of Paul H. Deutch, Omni’s Executive Vice

 14 President.

 15            2.       By appointing Omni as the Claims and Noticing Agent in this case, the distribution

 16 of notices and the processing of confidential claims will be expedited, and the Office of the Clerk

 17 of the Bankruptcy Court will be relieved of the administrative burden of administering and

 18 processing claims. The Debtor will seek authorization to retain and employ Omni as administrative

 19 advisor in the Bankruptcy Case for the performance of duties outside the scope of 28 U.S.C. §

 20 156(c) under Bankruptcy Code section 327(a), by separate application.

 21 F.         Debtor’s Emergency Motion to Continue Insurance Programs

 22            1.       By this motion (“Insurance Motion”), the Debtor requests entry of an order,

 23 pursuant to sections 363, 1112(b), and 105, authorizing the Debtor to (i) continue administering

 24 the Insurance Programs (defined in the Insurance Motion) for the Debtor and Participating Entities,

 25 in the ordinary course of business and consistent with past practices; (ii) continue funding all

 26 premiums, contributions, deductibles, reserves, and service fees related to Insurance Coverage

 27 (defined in the Insurance Motion) and receiving reimbursement for same; (iii) renew, amend,

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  1 supplement, extend, purchase, or terminate Insurance Coverage in the ordinary course of business;

  2 and (iv) pay any and all amounts related to the Insurance Programs that remained unpaid on the

  3 Petition Date (defined in the Insurance Motion). In furtherance of the Insurance Motion, the Debtor

  4 filed the supporting declaration of Joseph J. Passarello.

  5            2.       As described in the Insurance Motion, the Insurance Programs provide an efficient,

  6 cost-effective way to procure necessary insurance for the Debtor and the Participating Entities.

  7 Satisfying possible outstanding or future obligations related to the Insurance Programs is warranted

  8 under section 363(b) and applicable standards as described in the Insurance Motion. The Debtor

  9 has routinely maintained Insurance Coverage and administered the Insurance Programs in the
 10 ordinary course of its operations and must continue to do so on a going forward basis in order to

 11 operate. Further, the Insurance Programs administered by the Debtor are typical for a Roman

 12 Catholic Archdiocese of its size and include standard coverages for nonprofits such as the Debtor

 13 and the Participating Entities. Continuation of Insurance Coverage is essential to preserve

 14 uninterrupted operations and the value of the Debtor’s estate and is in the best interests of the estate

 15 and its creditors. Failing to maintain Insurance Coverage would impair the Debtor’s ability to

 16 operate and potentially violate U.S. Trustee Guidelines and other applicable regulations and

 17 requirements, resulting in a material adverse effect on the Debtor and the value of the estate.

 18 G.         Debtor’s Emergency Motion for Interim and Final Orders Authorizing Debtor to (1)
               Pay Certain Prepetition Invoices for Abuse Survivors’ Assistance and Safe
 19            Environment Programs, and (2) Continue Its Prepetition Practice of Paying for
               Abuse Survivors’ Assistance and Safe Environment Programs
 20

 21            1.       By this motion (“Survivors’ Assistance Programs Motion”), the Debtor requests
 22 entry of interim and final orders, authorizing the Debtor (i) to pay certain prepetition invoices

 23 for Abuse Survivors’ Assistance and Safe Environment Programs, and (ii) to continue to pay

 24 certain invoices for such programs in the ordinary course of its business under sections 105 and

 25 363(b)” and Rules 9013 and 9014 of the Federal Rules of Bankruptcy Procedure.

 26            2.       The Debtor has an established process for survivors of clergy abuse to have access

 27 to trained professionals who can help them address their trauma. To support these survivors,

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  1 among other things, the Debtor pays for the survivors' counseling with licensed therapists. In

  2 addition, the Debtor has implemented strict education and training protocols knowns as safe

  3 environment programs to prevent the future occurrence of sexual abuse by clergy or others

  4 affiliated with the Debtor.

  5            3.       These programs serve those affected by historical clergy sexual abuse and are

  6 designed to prevent future abuse. It is necessary and appropriate to authorize the Debtor to pay

  7 any outstanding prepetition balances due and owing for these programs, which the Debtor believes

  8 is approximately $4,000, in the aggregate, and to continue to fund these programs on a postpetition

  9 basis in the ordinary course of business.
 10            NOTICE IS FURTHER GIVEN that the Debtor also requests that the Court set final
 11 hearings for approval of any interim relief granted in the First Day Motions. You will be provided

 12 notice of the date of any further or final hearings on the First Day Motions at a later time.

 13            NOTICE IS FURTHER GIVEN that this notice does not contain all the particulars of the
 14 First Day Motions or supporting documents for the First Day Motions, nor does it summarize all of

 15 the evidence submitted in support of the First Day Motions. For further specifics concerning the

 16 First Day Motions and the relief requested, you are encouraged to review the First Day Motions and

 17 the supporting evidence, including the supporting Declarations, copies of which may be obtained

 18 from the website to be maintained by the Debtor’s proposed Claims and Noticing Agent, Omni

 19 Agent Solutions, Inc., at https://omniagentsolutions.com/RCASF, free of charge.

 20            You may also access these documents from the Court’s PACER system (requires a
 21 subscription). The web page address for the United States Bankruptcy Court for the Northern

 22 District of California is http://www.canb.uscourts.gov, which includes a link to the Court’s Case

 23 Management/Electronic Case Filing (CM/ECF) system.

 24            NOTICE IS FURTHER GIVEN that any opposition to the granting of the relief sought at

 25 the First Day Hearings may be made at the hearing. If you or your attorney do not attend, the Court

 26 may decide that you do not oppose the relief sought in the First Day Motions and may enter orders

 27 granting the relief requested.

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 1            Your rights may be affected. You should read these papers carefully and discuss them with

 2 your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may

 3 wish to consult one.

 4

 5 Dated: August 21, 2023
                                         FELDERSTEIN FITZGERALD WILLOUGHBY
 6                                       PASCUZZI & RIOS LLP
 7

 8                                       By                      /s/ Paul J. Pascuzzi
                                                 PAUL J. PASCUZZI
 9                                               JASON E. RIOS
                                                 THOMAS R. PHINNEY
10                                               Proposed Attorneys for The Roman Catholic
                                                 Archbishop of San Francisco
11

12 Dated: August 21, 2023
                                         SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
13

14
                                         By                           /s/ Ori Katz
15                                               ORI KATZ
                                                 ALAN H. MARTIN
16                                               Proposed Attorneys for The Roman Catholic
17                                               Archbishop of San Francisco

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